                                                                   THIS ORDER IS APPROVED.


                                                                   Dated: August 9, 2018


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2                                                                  Scott H. Gan, Bankruptcy Judge

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5                           UNITED STATES BANKRUPTCY COURT
6
                                FOR THE DISTRICT OF ARIZONA
7
8
     In re:                                   )    Chapter 11
9                                             )
10                                            )    Case No. 2:17-bk-7624-SHG
     ARLENE and RONALD SILVER,                )
11                                            )    ORDER DENYING APPROVAL OF
12                                            )    AMENDED DISCLOSURE
                                              )    STATEMENT AND SETTING STATUS
13                    Debtors.                )    HEARING
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15            On July 19, 2018, the Court held a hearing on approval of Debtors’ Disclosure
16 Statement (DE 97) for Debtors’ First Amended Chapter 11 Plan (DE 98). On July 20,
17 2018, the Court entered its Minute Entry Order (DE 118) which required Debtor to make
18 changes enumerated in Exhibit A to the Minute Entry Order and to file an Amended
19 Disclosure Statement within 15 days of entry of the order.
20            Debtor filed an Amended Disclosure Statement on August 7, 2018 (DE 123) and
21 provided a red-lined version of the Amended Disclosure Statement to chambers. After
22 reviewing the Amended Disclosure Statement, the Court has determined that Debtor has
23 not complied with the Minute Entry Order. Therefore,
24            IT IS ORDERED that approval of the Amended Disclosure Statement is
25 DENIED.
26            IT IS FURTHER ORDERED that a status hearing shall be held on August 23,
27 2018 at 2:00 p.m. at the U.S. Bankruptcy Court, 230 North First Avenue. Courtroom 301,
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     Phoenix, AZ 85003 with additional appearance at 38 South Scott Avenue, Courtroom
2
     329, Tucson, AZ 85701.
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4          Dated and signed above.
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     Notice to be sent through the
6    Bankruptcy Noticing Center “BNC”
     to the following:
7
8    Arlene Silver
     8329 E. Charter Oak Rd
9
     Scottsdale, AZ 85260
10
     Ronald Silver
11 42 Augusta Dr.
12 Deerfield, IL 60015
13 Kyle Kinney
14 LAW OFFICES OF KYLE A. KINNEY, PLLC
   1717 N 77th St. Ste. 6
15 Scottsdale, AZ 85257
16
     U.S. Trustee’s Office
17 230 N. First Ave. #204
     Phoenix, AZ 85003
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